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                                   Written Testimony of:



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                                        Before the:



                           Committee on House Administration
                                Subcommittee on Elections
                              U.S. House of Representatives



                                        Regarding:



             “A Growing Threat: Foreign And Domestic Sources Of Disinformation”



                                       July 27, 2022
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  Chair Butterfield, Ranking Member Steil, Chair Lofgren, Ranking Member Davis, and
  distinguished members of the Subcommittee on Elections, thank you for the opportunity to
  testify today.


  My name is Renée DiResta and I am the research manager at the Stanford Internet
  Observatory, a cross-disciplinary program for research, teaching, and policy engagement
  focused on the use and abuse of information technologies. My research involves studying
  influence operations and the spread of narratives across social and media networks. While
  I am here in an individual capacity, I want to discuss the Stanford Internet Observatory’s
  work with the University of Washington’s Center for an Informed Public and other research
  collaborators on the Election Integrity Partnership, or EIP.


  My testimony will focus on the following key takeaways:


     ●   The rapid spread of information between users and media accounts on social media
         can cause rumors to widely circulate and create a false impression before the facts
         are known.


     ●   In 2020, the spread of misleading election narratives was both top-down, originating
         from media and prominent figures, and bottom-up, with claims from everyday
         people amplified by influential accounts.


     ●   A whole-of-society approach is needed to identify election-related rumors shared
         online, analyze their capacity for harm, and responsively communicate accurate,
         up-to-date information to constituents in service to facilitating an informed
         electorate.


  The Election Integrity Partnership
  EIP is a nonpartisan coalition of research organizations established to detect and analyze
  online rumors that interfere with election procedures, or delegitimize election results. EIP
  was established two years ago on July 26, 2020 — 100 days before the 2020 presidential
  election — to address a need for independent, non-governmental observation and analysis
  of election interference rumors spanning social media and media. EIP works as a
  multistakeholder partnership between academic researchers, election officials, social
  media companies, and civil society organizations.




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  Our observation and analysis is derived from public data, and narrowly scoped to focus on
  election-related rumors that result in false or misleading narratives that may suppress
  voting, reduce participation, confuse voters about election processes, or delegitimize
  election results without evidence. EIP works with civil society and election officials to
  identify instances of election-related rumors shared online. It then analyzes those
  instances, produces public reports, and routes relevant findings to social media companies.
  This work is transparent, with findings shared on the EIP website and social media.


  Misinformation, disinformation, and rumors
  It is perhaps useful here to state some clear definitions of terms like “disinformation” from
  the EIP final report, The Long Fuse.1


      ●   Misinformation is false, but not shared with an intent to mislead.2 Misinformation is
          at times used as an umbrella category for false rumors, and other types of
          misleading information.


      ●   Disinformation is false or misleading information that is purposefully spread to
          further an objective.3 Disinformation may mislead through its content, or might hide
          its origins, purpose, or the identity of those who produced it. It is often based on
          factual information, but adds small falsehoods or exaggerations.4 Often as a
          disinformation campaign progresses, it comes to include unwitting participants who
          spread the material without an intent to deceive others.5


  What we observed in our process in 2020, is that intent is complicated and assessing the
  facts behind rapidly-evolving viral claims is a significant challenge as they are going viral; it
  takes time for officials, journalists, and fact-checkers to investigate claims and decide

  1
    Center for an Informed Public, Digital Forensic Research Lab, Graphika, & Stanford Internet
  Observatory (2021). The Long Fuse: Misinformation and the 2020 Election. Stanford Digital
  Repository: Election Integrity Partnership. v1.3.0 https://purl.stanford.edu/tr171zs0069
  2
    Caroline Jack, “Lexicon of lies: Terms for problematic information,” Data & Society Research
  Institute (2017): 3, 22, https://datasociety.net/pubs/oh/DataAndSociety_LexiconofLies.pdf
  3
    Jack, “Lexicon of lies: Terms for problematic information”; Kate Starbird, Ahmer Arif, and
  Tom Wilson, “Disinformation as collaborative work: Surfacing the participatory nature of strategic
  information operations,” Proceedings of the ACM on Human-Computer Interaction 3, issue CSCW
  (November 2019): 1-26, https://dl.acm.org/doi/10.1145/3359229.
  4
    Ladislav Bittman, The KGB and Soviet Disinformation: An Insider’s View (Washington:
  Pergamon-Brassey’s, 1985)
  5
    Bittman, The KGB and Soviet Disinformation: An Insider’s View; Kate Starbird, et al., “Disinformation
  as collaborative work.”


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  whether something is accurate or false. Online conversations about voting were rife with
  rumors — uncorroborated or disputed information that quickly spread, often originating
  on social channels and progressing to media pickup. Sometimes, of course, rumors turn
  out to be true. However, social media’s velocity, virality, and audience participation —
  through liking and sharing, or trying to make sense of things in comments or replies —
  means that rumors may achieve a significant degree of public awareness long before the
  facts are known, creating an impression for the public that may turn out to be false.


  It is when these rumors spread, and particularly when they become incorporated into
  larger, misleading narratives about election administration or fraud, that EIP shares
  analysis with social media companies and election officials. This enables state and local
  election officials to better understand the public conversation and determine whether to
  investigate claims or respond with public statements. Social media companies, similarly,
  independently determine whether flagged content violates their policies, and how to action
  it if so. And we publicly share EIP analysis through briefings, blog posts, and social media
  content that summarizes key findings and insights.


  Rumors, narratives, and rapid spread
  Narratives are stories. The most successful narratives inspire suspense and emotions for
  an audience. They often share the same set of building blocks — characters, scenes, and
  themes — assembled in novel ways. Online rumors can go viral when real-world events are
  framed in ways that an audience is familiar with, and receptive to.


  In 2020, President Trump primed his audience to believe that the election was going to be
  stolen beginning very early in the campaign. EIP observed that people who appeared to
  sincerely believe that election fraud was likely to happen participated directly in the
  rumor-creation process alongside partisan influencer accounts, producing and spreading
  hundreds of rumors that questioned the integrity of the election. A small number of social
  media accounts, especially partisan influencers, repeatedly played an outsized role in
  helping to shape, amplify, organize, and eventually mobilize on top of false, misleading,
  exaggerated, and/or unsubstantiated claims and narratives.


  Hyperpartisan news and large social media influencers played a role in selection,
  amplification, and framing, assembling the “evidence” of the crowd to fit their narratives.
  They spread and amplified that content across platforms. A small number of hyperpartisan
  media sources additionally played an outsized role, writing up summaries of online
  allegations for further reach and spread to new audiences. They often provided framing for


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  the online rumors, incorporating them into recurring, evolving narratives about election
  processes, participation, or fraud. This gave a sense of familiarity to new incidents, and
  positioned unrelated events as part of a broader pattern of election fraud.


  In other words, misleading narratives were not only top-down — the sort of longstanding
  partisan propaganda developed and spread by prominent media and political accounts
  online — but also bottom-up, with raw content (a photo of a suitcase outside of a polling
  place, for example) or claims from friends-of-friends shared by everyday people and
  amplified by accounts with large audiences.


  Gray line between foreign and domestic election rumors
  A key takeaway from EIP’s observation of the 2020 election is that most of the viral false
  and misleading claims that sought to delegitimize the election originated from and were
  amplified by Americans, including prominent partisan political influencers. Previously,
  research on disinformation in the political arena focused on state-sponsored interference,
  such as the multipronged Russian effort to influence the U.S. election in 2016. Indeed, EIP
  was conceived around a threat model concerned with a repeat of Russian interference in
  the 2016 election — an incident of demonstrable interference by a foreign actor, and
  distinct from any politicized allegations of collusion — in other words, a real threat to the
  integrity of the 2020 election. Therefore we convened to observe viral narratives and assess
  whether they were part of disinformation campaigns.


  The Election Integrity Partnership did observe campaigns with links to China, Iran, and
  Russia during the 2020 election period, but they were uncommon and largely unsuccessful.


     ●   State actors used front media websites, false personas, AI-generated faces, and
         manipulation of unwitting freelancers to generate content. However, these attempts
         were quickly detected.


     ●   The Department of Justice determined that Iran was responsible for a malign email
         campaign purporting to be from the far-right group the Proud Boys, in which
         messages instructed recipients to vote for Donald Trump or face retaliation.


     ●   Entities linked to Russia’s Internet Research Agency consistently amplified narratives
         about fraud throughout the election and post-election period, primarily on
         alternative social media platforms. However, most foreign operations pushed a
         broad notion that the U.S. was on the brink of civil war.


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  Conclusion
  The spread of viral false and misleading claims with the intent to delegitimize democratic
  elections is a significant problem, one with real-world consequences, and it requires a
  multi-stakeholder approach to mitigate. Doing nothing is not an option.


  While the Election Integrity Partnership was intended to meet an immediate need, the
  conditions that necessitated its creation have not abated, and in fact may have worsened.
  Academia, tech platforms, civil society, and state and local election officials — independent
  of party — must be committed to collaborative models for understanding and responding
  to rumors and false and misleading claims in the modern information environment. We
  need media literacy efforts that focus on informing the public about online narrative
  dynamics; collaborative tech and researcher efforts for detecting disinformation networks
  and emerging viral rumors as they occur; and civil society and government voices capable
  of rapidly and transparently informing the public with accurate, up-to-date, shareable
  information.


  As this committee works to ensure the safe, secured, and trusted administration of
  elections, I impart the following recommendations.


  That Congress:
     ●   Passes legislation mandating meaningful transparency from, and researcher and
         civil society access to, social media sites and similar platforms to enable public
         accountability and targeted, evidence-based policy.
     ●   Strengthens digital expertise at federal regulators with election-related jurisdiction,
         including the Federal Election Commission and Federal Communications
         Commission, to improve enforcement of existing regulations.


  That the Executive Branch:
     ●   Builds on the federal interagency movement toward recognizing elections as a
         national security priority and critical infrastructure.
     ●   Supports multi-stakeholder collaborations like the Election Integrity Partnership to
         ensure rapid response capabilities in a whole-of-society approach.
     ●   Creates clear standards for consistent disclosures of mis- and disinformation from
         foreign and domestic sources as a core function of facilitating free and fair elections.




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  That Technology Platforms:
     ●   Develop clear guidelines and consistently enforce rules for accounts that repeatedly
         violate election misinformation policies. Platforms should provide both rationales
         and case studies to provide a clear understanding of their policies.
     ●   Ensure that verified and high-profile accounts, which are known to be highly
         influential in the spread of rumors and have the greatest capability to mobilize, are
         held to as high a standard as others.
     ●   Provide access to data, with appropriate privacy and security considerations, for
         academics, civil society, and the public, to better understand the spread of rumors,
         their reach, and how they are addressed.
     ●   Enable access for external researchers to removed or labeled content, including
         exhaustive and rapid search capabilities.
     ●   Provide greater transparency about why something has been removed or censored.




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